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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff/Respondent,

vs.                                                   CASE NO.: 05-CR-80810-06
                                                                09-14239
                                                      HON. LAWRENCE P. ZATKOFF
TODD DUANE BENALLY,

      Defendant/Petitioner.
__________________________/

                    OPINION AND ORDER ADOPTING
           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         This matter is before the Court on Defendant/Petitioner’s Motion to Vacate, Set Aside

or Correct Sentence pursuant to 28 U.S.C. § 2255 (Docket #531). The Court is also in receipt

of Magistrate Judge Mona K. Majzoub’s Report and Recommendation, wherein the

Magistrate Judge recommends that Defendant/Petitioner’s § 2255 Motion be denied.

Defendant/Petitioner has not filed any objection(s) to the Report and Recommendation.

         After a thorough review of the Court’s file, including Defendant/Petitioner’s guilty

plea and sentencing hearings and the briefs regarding the Motion, as well as the Report and

Recommendation, this Court will adopt the Report and Recommendation and enter it as the

findings and conclusions of this Court.

         Therefore, for the reasons stated above, the Court DENIES Defendant/Petitioner’s

Motion to Vacate, Set Aside or Correct Sentence pursuant to 28 U.S.C. § 2255 (Docket

#531).
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       IT IS SO ORDERED.



                                             S/Lawrence P. Zatkoff
                                             LAWRENCE P. ZATKOFF
                                             UNITED STATES DISTRICT JUDGE

Dated: October 15, 2010

                              CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on October 15, 2010.


                                             S/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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